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                                        6

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                                                                          IN THE UNITED STATES DISTRICT COURT
                                        9
                                                                     FOR THE EASTERN DISTRICT OF CALIFORNIA
                                       10

                                       11
                                            UNITED STATES OF AMERICA,                              Case No. 2:19-CR-00043-MCE
                                       12
                                                             Plaintiff,
                                       13                                                          STIPULATION AND ORDER TO
B ARTH D ALY LLP
               A TTORNEYS A T L AW
               D AVIS , C ALIFOR NIA




                                                     v.                                            CONTINUE STATUS CONFERENCE
                                       14
                                            DAVID LEE WHITE and ALICIA McCOY,
                                       15                                                          Judge: Honorable Morrison C. England.
                                                             Defendant.
                                       16

                                       17
                                                                                        STIPULATION
                                       18
                                                     1.      By previous order this case was set for status conference on May 7, 2020.
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                                                     2.      By this stipulation, the defendants ask to move the status conference until July 9,
                                       20
                                            2020 and to exclude time between May 7, 2020 and July 9, 2020 under Local Code T4.
                                       21
                                                     3.      The parties agree and stipulate, and request that the Court find the following:
                                       22
                                                             (a)      Counsel for defendants desire time to consult with their clients, review the
                                       23
                                            discovery, conduct investigation and otherwise prepare for trial.
                                       24
                                                             (b)      Counsel for defendants believe failure to grant the above-requested
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                                            continuance would deny them the reasonable time necessary for effective preparation, taking into
                                       26
                                            account the exercise of due diligence.
                                       27
                                                             (c)      The government does not object to the continuance.
                                       28
                                            {00030813}
                                                     STIPULATION AND ORDER                                             [Case No. 2:19-CR-00043-MCE]
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                                        1                    (d)      Based on the above-stated findings, the ends of justice served by

                                        2   continuing the case as requested outweigh the interest of the public and the defendants in a trial

                                        3   within the original date prescribed by the Speedy Trial Act.

                                        4                    (e)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C.

                                        5   § 3161, et seq., within which trial must commence, the time period of May 7, 2020 to July 9,

                                        6   2020, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code

                                        7   T4] because it results from a continuance granted by the Court at defendants’ request on the basis

                                        8   of the Court’s finding that the ends of justice served by taking such action outweigh the best

                                        9   interest of the public and the defendants in a speedy trial.

                                       10

                                       11   Dated: April 21, 2020.                          Respectfully submitted,

                                       12
                                                                                    By      /s/ Kresta Nora Daly for
                                       13                                                   GRANT RABENN
B ARTH D ALY LLP
               A TTORNEYS A T L AW
               D AVIS , C ALIFOR NIA




                                                                                            ASSISTANT UNITED STATES ATTORNEY
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                                       15

                                       16   Dated: April 21, 2020.

                                       17
                                                                                    By      /s/ Kresta Nora Daly for
                                       18                                                   DAVID GARLAND
                                                                                            Attorneys for ALICIA McCOY
                                       19

                                       20
                                       21
                                            Dated: April 21, 2020.                          BARTH DALY LLP
                                       22

                                       23                                           By      /s/ Kresta Nora Daly
                                                                                            KRESTA NORA DALY
                                       24                                                   Attorneys for DAVID LEE WHITE
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                                            {00030813}                                        -2-
                                                     STIPULATION AND ORDER                                            [Case No. 2:19-CR-00043-MCE]
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                                        1                                                 ORDER

                                        2            GOOD CAUSE APPEARING upon the stipulation of the parties it is ordered:

                                        3            The status conference of June 4, 2020 is vacated. The status conference will be reset for

                                        4   July 9, 2020. The Court finds excludable time through July 9, 2020 under Title 18, United States

                                        5   Code Section 3161(h)(7)(B)(iv) and Local Code T4 to allow for preparation of counsel. The

                                        6   Court finds that the interests of justice are best served by granting the request and outweigh the

                                        7   interests of the public and the defendant in a speedy trial. (18 U.S.C. § 3161(h)(7)(A),

                                        8   (h)(7)(B)(iv).)

                                        9            IT IS SO ORDERED.

                                       10   Dated: April 28, 2020

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B ARTH D ALY LLP
               A TTORNEYS A T L AW
               D AVIS , C ALIFOR NIA




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                                            {00030813}                                      -3-
                                                     STIPULATION AND ORDER                                           [Case No. 2:19-CR-00043-MCE]
